
99 N.Y.2d 648 (2003)
In the Matter of SOLOMON ABRAHAMS, a Suspended Attorney, Appellant.
GRIEVANCE COMMITTEE FOR THE NINTH JUDICIAL DISTRICT, Respondent.
Court of Appeals of the State of New York.
Submitted March 24, 2003.
Decided April 8, 2003.
Motion, insofar as it seeks leave to appeal from the Appellate Division order denying appellant's motion to vacate the order of interim suspension, dismissed upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise dismissed as untimely (see CPLR 5513 [b]). Motion for a stay dismissed as academic.
